             Case 23-11240-TMH                  Doc 766          Filed 06/05/24           Page 1 of 1


UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

DISTRICT OF DELAWARE
PDF FILE WITH AUDIO FILE ATTACHMENT

      23-11240

      AmeriFirst Financial, Inc.




      Case Type :                       bk
      Case Number :                     23-11240
      Case Title :                      AmeriFirst Financial, Inc.
      Judge :                           Thomas M. Horan
      Courtroom :                       3rd Floor Courtroom 7, Wilmington, DE
      Audio Date\Time :                 6/5/2024 10:01:50 AM
      Audio File Name :                 23-11240.mp3
      Audio File Size :                 89297 KB
      Audio Run Time :                  [03:10:30] (hh:mm:ss)




Help Using this File

      An audio file is embedded as an attachment in this PDF Document. To listen to the file, you may have to
      download it to your desktop first.Once the file is on your desktop, click the Attachments tab or the Paper
      Clip icon, located in the top left corner of the Adobe program. Then, select the audio file and click
      Open.More information about our audio files can be found on the Attorney Home Page.


MPEG Layer-3 audio coding technology from Fraunhofer IIS and Thomson.


    This digital recording is a copy of a court proceeding and is provided as a convenience to the public. In
    accordance with 28 U.S.C. § 753 (b) "[n]o transcripts of the proceedings of the court shall be considered as
    official except those made from the records certified by the reporter or other individual designated to produce
    the record."
